  2:20-cv-02753-RMG-MGB             Date Filed 11/16/20      Entry Number 14        Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


Donavon Chestnutt,                                   )       C.A. No. 2:20-cv-02753-RMG-MGB
                                                     )
                      Plaintiff,                     )
                                                     )
       vs.                                           )                 AMENDED
                                                     )             SCHEDULING ORDER
Bryan P. Stirling; Levern Cohen;                     )
Cedric Major; Consonya Washington; and               )
South Carolina Department of Corrections,            )
                                                     )
                      Defendants.                    )
                                                     )


        Pursuant to the Federal Rules of Civil Procedure and the Local Civil Rules of this Court,
the following amended schedule is established for this case.
       1. Plaintiff(s) shall file and serve a document identifying by full name, address, and
          telephone number each person whom Plaintiff(s) expects to call as an expert at trial,
          and certifying that a written report prepared and signed by any expert meeting the
          criteria under Fed. R. Civ. P. 26(a)(2)(B), including all information required by Fed. R.
          Civ. P. 26(a)(2)(B), has been disclosed to other parties by March 11, 2021. For all
          other expert witnesses, counsel should make the disclosures required by Fed. R. Civ.
          P. 26(a)(2)(C) by March 11, 2021.

       2. Defendant(s) shall file and serve a document identifying by full name, address, and
          telephone number each person whom Defendant(s) expects to call as an expert at trial,
          and certifying that a written report prepared and signed by any expert meeting the
          criteria under Fed. R. Civ. P. 26(a)(2)(B), including all information required by Fed. R.
          Civ. P. 26(a)(2)(B), has been disclosed to other parties by April 12, 2021. For all other
          expert witnesses, counsel should make the disclosures required by Fed. R. Civ. P.
          26(a)(2)(C) by April 12, 2021.

       3. Counsel shall file and serve affidavits of records custodian witnesses proposed to be
          presented by affidavit at trial no later than April 12, 2021. Objections to such affidavits
          must be made within fourteen (14) days after the service of the disclosures. See Fed.
          R. Evid. 803(6), 902(11), or 902(12) and Local Civil Rule 16.02(D)(3).

       4. Discovery shall be completed no later than June 14, 2021. All discovery requests shall
          be served in time for the responses thereto to be served by this date. De bene depositions
  2:20-cv-02753-RMG-MGB            Date Filed 11/16/20       Entry Number 14        Page 2 of 2




          must be completed by the discovery deadline. No motions relating to discovery shall
          be filed until counsel have consulted and attempted to resolve the matter as required by
          Local Civil Rule 7.02, and have had a telephone conference with Judge Baker in an
          attempt to resolve the matter informally.

       5. All other motions, except those to complete discovery, those nonwaivable motions
          made pursuant to Fed. R. Civ. P. 12, and those relating to the admissibility of evidence
          at trial, shall be filed on or before August 11, 2021 (Fed. R. Civ. P. 16(b)(2)).

       6. Mediation, pursuant to Local Civil Rules 16.04 - 16.12, shall be completed in this case
          on or before July 12, 2021. See attached form setting forth mediation requirements. At
          least thirty (30) days prior to this mediation deadline, counsel for each party shall
          file and serve a statement certifying that counsel has: (1) provided the party with a copy
          of the mediation requirements; (2) discussed the availability of mediation with the
          party; and (3) discussed the timing of mediation with opposing counsel.


IT IS SO ORDERED.




November 16, 2020
Charleston, South Carolina




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